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                            UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA

 MATTHEW EDWARDS, GEORGIA
 BROWNE and TORAH MONTESSORI
 SCHOOL, individually and on behalf of all         )   CLASS ACTION
 others similarly situated,                        1
                                                   )   CLASS ACTION COMPLAINT
                                     Plaintiffs,   )
                                                   )   DEMAND FOR JURY TRIAL
        v.                                         1
                                                   )
 NATIONAL MILK PRODUCERS               1
 FEDERATION, aka COOPERATIVES          )
 WORKING TOGETHER; DAIRY FARMERS )
 OF AMERICA, INC.; LAND O'LAKES, INC.;
 DAIRYLEA COOPERATIVE INC.; and AGRI- )
 MARK, INC.,                           1
                                                   )
                                   Defendants.     )
                                                   1




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         Indirect purchaser plaintiffs Matthew Edwards and Georgia Browne ("Plaintiffs") bring this
action on behalf of themselves and all others similarly situated in the United States against
Defendants National Milk Producers Federation, aka Cooperatives Working Together; Dairy
Farmers Of America, Inc.; Land O'Lakes, Inc.; Dairylea Cooperative Inc.; and Agri-Mark, Inc.
(collectively "Defendants"). Plaintiffs, by and through their attorneys, based on their individual
experiences, the investigation of counsel and experts, and information and belief allege as follows:
                                   I.     NATURE OF THE CASE
        1.        Cooperatives Working Together ("CWT") and its members have taken coordinated
efforts over the past eight years to limit the production of raw farm milk through premature "herd
retirements" in order to increase the price of raw farm milk, which is used to supply milk' and
other fresh milk products, including cream, half & half, yogurt, cottage cheese, cream cheese, and
sour cream, to consumers.
       2.         Founded in July of 2003, CWT is "a voluntary, producer-funded national program
developed by the National Milk Producers Federation (NMPF), to strengthen and stabilize milk
prices." CWT involves "dairy producers in every state," who are producing "almost 70% of the
nation's milk."2
       3.         CWT's individual producer and cooperative members finance CWT's programs by
paying assessments based on their productivity. As of July 07, 2010, as CWT was conducting its
tenth and final herd retirement, members paid assessments of $0.10 per hundredweight (cwt) of
raw farm milk produced.3
       4.         Each member of CWT, including each defendant other than NMPFICWT, agreed to
and did in fact pay these assessment so that CWT in turn could pay some members of CWT to
prematurely retire their herds in order to "strengthen and stabilize" raw farm milk prices for all
members of CWT.
       5.         Indeed, CWT's primary activity since inception has been to increase the profitability
of dairy producers through coordinated herd retirements. Through this program, dairy producers

 This refers to fluid as opposed to dry milk.
 http:ll~~~.~wt.~~~plabout/about~whatis.html.
                                                                      lO(1).pdf.
 http:ll~~~.agweb.codassets/import/files/Herd-retirement-bids-accepted-O7O7
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can submit bids for the price at which they will sell their herd to slaughter prematurely. CWT
provides a formula through which farmers can calculate their bids essentially based on subtracting
the price the farmer can recoup by selling them at auction as slaughter cows from their market
value as producing dairy cows, with CWT paying the differen~e.~
        6.         CWT then reviews and tentatively accepts bids subject to farm visits by CWT
auditors who supervise the tagging of the herds for removal. The producers are then required to
ship their cows for slaughter within 15 days after completion of the audit. CWT makes payment
within 30 days of receiving verification that all cows have gone to slaughter.5 In 2009, for
example, CWT membership assessments generated $2 19 million in revenues for CWT, which
spent $2 17 million on herd    reduction^.^
        7.         The purpose and effect of the herd retirement program was to reduce the supply of
raw farm milk in order to increase its price, which in turn increased the price paid by consumers for
milk and other fresh milk products.
        8.         By all accounts, the herd retirement program was a huge success for CWT and its
members. CWT financed ten rounds of herd retirements from 2003 to 2010, during which CWT
was responsible for removing over 500,000 cows from production, reducing the nation's milk
supply by approximately 10 billion pounds. According to studies commissioned by CWT from Dr.
Scott Brown at the University of Missouri, the program resulted in a raw farm milk price increase
of $ 0 . 8 5 1 ~by~ 2007 and $ 1 . 7 5 1 ~by~ 2010.      By the end of the program in 2010, it was
responsible for a cumulative increase in milk price revenue of $9.55 billion. Further, Dr. Brown's
studies indicate that "each herd retirement round has effects that extend forward years into the
f u t ~ r e , "so
                ~ that dairy farmers are still significantly profiting from previous herd retirements.
        9.         By manipulating the supply of raw farm milk through herd retirement, price
competition has been suppressed and prices have been supported at artificially high levels




 http://www.cwt.coop/calculator/index.html.
 http:/lwww.cwt.coop/actiodaction~herd~faqs.html#c.
 http:/lwww.cwt.coop/sites/defaulthileslpdf/CWT-Website-Financial-Report-2009.pdf.
 http://web.archive.org/web/20080301233800/htt~://www.cwt.coop/impac~impact~index.htm1.
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throughout the United States. As a result, indirect purchasers of milk and other fresh milk products
have paid supracompetitive prices.
        10.        Accordingly, on behalf of themselves and all others similarly situated, Plaintiffs
bring this suit for violation of state antitrust statutes and the common law of unjust enrichment.
                                 11.    JURISDICTION AND VENUE
        11.        This Court has jurisdiction over the instant matter pursuant 28 U.S.C. 8 1332(d) and
the Class Action Fairness Act of 2005 ("CAFA"), 28 U.S.C.         5 1711, et seq., which vests original
jurisdiction in the district courts of the United States for any multi-state class action where the
aggregate amount in controversy exceeds $5 million and where the citizenship of any member of
the class of plaintiffs is different from that of any defendant.           The $5 million amount-in-
controversy and diverse-citizenship requirements of CAFA are satisfied in this case.
        12.        Venue is appropriate in this district under 28 U.S.C.   8 1391(b) and    (c), because
during the Class Period many of the Defendants transacted business, were found, or had agents in
this district and because a substantial portion of the affected interstate trade and commerce
described below has been carried out in this district.
        13.        Intradistrict Assignment: Assignment to the San Francisco or Oakland division of
this Court is proper because a substantial portion of the events giving rise to the claims occurred
therein.
        14.        This Court has personal jurisdiction over each Defendant because, inter alia, each
Defendant: (a) transacted business throughout the United States, including in this district; (b)
participated in the sale and distribution of milk throughout the United States, including in this
district; (c) had substantial contacts with the United States, including in this district; and/or (d) was
engaged in an illegal scheme and supply-reduction conspiracy that was directed at and had the
intended effect of causing injury to persons residing in, located in, or doing business throughout the
United States, including in this district.




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        15.        Indeed, more dairy cows are found on farms in California than in any other state. In
2006, for example, 19.5% of milk cows were found on farms in California           -   more even than in
isc cons in.^    And, in 2009, California produced more farm milk than any other state.9
        16.        Moreover, California produces more fresh milk products than other states. In 2008,
California was the top producer of yogurt, and California along with New York were the top two
producers of cottage cheese and sour cream.''              Processors in California passed on the
supracompetitive raw farm milk prices to retailers who in turn passed them on to consumers.
        17.        Further, more retail milk was sold in California during the Class Period than in any
other state. For example, in January of 2006, 64,393,000 gallons of milk were sold in ~alifornia,"
which, using an 8.6 conversion to pounds factor, amounts to 553,780,000 pounds of milk, which is
12% of the 4,754,000,000 pounds of milk sold during that same month period in the United
states.12 Further jurisdictional contacts are alleged below.

                                         111.   THE PARTIES
A.       Plaintiffs
        18.        Plaintiff Matthew Edwards is a resident of San Francisco, California. Plaintiff
purchased milk and other fresh milk products during the Class Period and was injured as a result of
Defendants' illegal conduct.
        19.        Plaintiff Georgia Browne is a resident of Cold Spring Harbor, New York. Plaintiff
purchased milk and other fresh milk products during the Class Period and was injured as a result of
Defendants' illegal conduct.
        20.        Plaintiff Torah Montessori School is an Illinois nonprofit corporation located in
Chicago. Torah Montessori School purchases milk that it provides to its students.
B.       Defendants
        2 1.       Defendant National Milk Producers Federation ("NMPF") was established in 1916
and is based in Arlington, Virginia. The members of NMPF's 3 1 cooperatives, over 40,000 dairy




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producers, make the majority of the nation's milk supply. NMPF "promote[s] the economic well-
being of dairy producers and their cooperatives through coordinated industry     effort^."'^   NMPF
manages Cooperatives Working Together, the primary purpose of which was to strengthen and
stabilize raw farm milk prices through nationally orchestrated herd retirements. According to
NMPF, the "dairy farmer cooperative associations of the National Milk Producers Federation
(NMPF) represent two-thirds of the nation's 60,000 commercial dairy farmers, including a large
share of California milk producers."
        22.        Defendant Cooperatives Working Together ("CWT") "is a voluntary, producer-
funded national program developed by NMPF, to strengthen and stabilize milk prices." While it is
a separately-funded program, CWT is organized within the existing operating structure of NMPF.
Dairy farmers in every state, producing almost 70% of the nation's milk, participate in CWT.
These producers are either members of the 35 cooperative members of CWT, or one of over 130
independent dairy farmers who are members of CWT. The CWT Committee establishes policies
and oversees CWT's programs and activities. The CWT Committee consists of the NMPF Board
of Directors, representatives from participating cooperatives that are not members of NMPF, and
representatives for independent producer members of C W T . ' ~CWT's website indicates that dairy
farmers in every state invest in CWT. A major member of CWT is DFA, which has 332 member
dairies in California, Nevada and Arizona.
        23.        Defendant Dairy Farmers of America, Inc. ("DFA") has its headquarters and
principal place of business in Kansas City, Missouri. It is the largest dairy farmer cooperative in
the country. DFA has nearly 16,000 members in 48 states responsible for over 1.8 million cows.'5
In 2007, DFA was the 29th largest private company in the United States with $1 1.1 billion in
revenue.I6 DFA's Chairman of the Board, Randy Mooney, is also the Chairman of NMPF.
Twelve of DFA's executives are on NMPF's Board of Directors, which also places them on the
CWT Committee. DFA is and has been a contributing member of CWT. As such it has agreed to




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and in fact paid assessments of $0.10 per hundredweight (cwt) of milk produced to CWT in order
to strengthen and stabilize milk prices through nationally orchestrated herd retirements. DFA has
332 member dairies in California, Nevada and Arizona.
        24.        Defendant Land O'Lakes, Inc. is the second largest cooperative in the nation with
3,200 producer members and 1,000 member cooperatives comprised of over 300,000 producers.
Located in Arden Hills, Minnesota, Land O'Lakes handles 12 billion pounds of milk annually and
does business in all 50 states.17 Land O'Lakes is and has been a contributing member of CWT. As
such it has agreed to and in fact paid assessments of $0.10 per hundredweight (cwt) of milk
produced to CWT in order to strengthen and stabilize milk prices through nationally orchestrated
herd retirements. Land O'Lakes runs a processing plant in Tulare, California, which is "among the
largest and most productive dairy plants in the nation ... process[ing] more than 10-million pounds
of milk from 229 local producer-members every day."I8
        25.        Defendant Dairylea Cooperative Inc. was founded in 1907 and is headquartered in
Syracuse, New York. It is the fifth largest U.S. dairy cooperative with over 2,000 members and
selling more than 6 billion pounds of milk annually.19 Dairylea is and has been a contributing
member of CWT.            As such it has agreed to and in fact paid assessments of $0.10 per
hundredweight (cwt) of milk produced to CWT in order to strengthen and stabilize milk prices
through nationally orchestrated herd retirements.
        26.        Defendant Agri-Mark, Inc. is located in Lawrence, Massachusetts, and markets
more than 300 million gallons of milk each year for more than 1,300 producer members.20 Agri-
Mark is and has been a contributing member of CWT. As such it has agreed to and in fact paid
assessments of $0.10 per hundredweight (cwt) of milk produced to CWT in order to strengthen and
stabilize milk prices through nationally orchestrated herd retirements.




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C.       Unidentified Co-Conspirators
        27.        Various other persons, firms, and corporations, not named as Defendants in this
Complaint, have participated as co-conspirators with Defendants in the violations alleged herein,
and aided, abetted and performed acts and made statements in furtherance of the conspiracy.
        28.        The true names and capacities, whether individual, corporate, associate, or
representative is unknown to Plaintiffs at this time. Plaintiffs will amend this Complaint to allege
the true names and capacities of additional co-conspirators as their identities become known
through discovery.
        29.        At all relevant times, milk producers, milk trade groups, and others, referred to
herein as "co-conspirators," as well as other various persons, companies, and corporations, the
identities of which are presently unknown, willingly conspired with Defendants in their unlawful
restraint of trade as described herein.
        30.        The acts alleged herein that were done by each of the co-conspirators were fully
authorized by each of those co-conspirators, or ordered, or committed by duly authorized officers,
managers, agents, employees or representatives of each co-conspirator while actively engaged in
the management, direction, or control of its affairs.
                                 IV.      FACTUAL ALLEGATIONS
A.       Defendants Combined to Reduce Raw Farm Milk Production and Increase Prices
         Through Herd Retirement
        3 1.       Through press releases, which were contemporaneously posted to CWT's website,
and newsletters, which incorporated information from the press releases and were also
contemporaneously posted to CWT's website, NMPF and CWT communicated with their fellow
cartel members. These communications allowed for the success of the scheme at issue. In fact,
through 2008, CWT's website stated: "It is vital that CWT members see their investment at work.
Review our informative newsletters to learn more about CWT."~' The website also explained that
members can "track CWT creation, implementation, and impact through past press releases."22




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          1.       The 2003 herd reduction reduces
        32.        In a July 1 1,2003, press release, the National Milk Producers Federation announced

that the "dairy industry's new voluntary, producer-funded program to strengthen farm milk prices
will begin this summer, following action this week by the National Milk Producers Federation

Board at their summer meeting in Washington, DC. 'Now that we've reached the critical mass

needed to move forward with this innovative program, Cooperatives Working Together, we are

eager to finalize specific program details and implement the plan as quickly as possible,' said Jerry
Kozak, IVMPF President and CEO.             Participating producers will begin their investment by
contributing the 5 cents per hundredweight assessment on their July milk. These contributions will

be used to implement a multi-dimensional program to reduce milk supplies by 1.2 billion pounds
over a 12-month period."

        33.        On July 23, 2003, NMPF announced that CWT would begin accepting farmer bids

for participation in the first herd retirement. These bids stipulate how much each producer would
accept to sell hidher entire milking herd. By September 16, 2003, "2,038 bids were submitted for

the herd retirement program (under which a producer will be paid for selling hisher herd of milk
cows)" and "approximately 33,000 cows will be culled due to the herd retirement program ...
which will reduce the nation's milk output by 580 million pounds." According to CWT, the

producer must agree to sell "all cows in which producer has an ownership interest, regardless of
where the cows are located" even if the producer owns multiple dairies.24 Thus, the program in
effect put smaller farmers out of business, while unfairly increasing the profits of agribusiness

giants.

        34.        In an October 2, 2003, press release, NMPF explained that "[iln order to ensure the
integrity of the herd retirement process, those farms whose bids have been tentatively accepted are
now being contacted by CWT field auditors shortly before the auditors visit the farms. That
process will continue until all the f m s have been audited, and the herds have been tagged for




                                                .html.
23 http:/lwww.~wt.~00p/about!about~new~~releases2OO3
24 http://~~~.~wt.coop/action/action~herd~faqs.html.
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removal. To date, nearly half the 300 farms have been audited, and are now being liquidated." By
October 23, 2003, those audits were complete.
        35.         The national scope of the herd retirements is evidenced in the following chart:25




                   Amraga      $3.06      $4.00     $3.94      $4.08     $4.20      $4.02
                   Bid




          2.        The 2004 reduction of
        36.         According to a January 20, 2004, press release, "After six months of operation, the
dairy industry's historic selfhelp program, Cooperatives Working Together, has already had a
sizeable impact on dairy producer prices. According to new analysis released by the National Milk
Producers Federation, CWT will ultimately return nearly 60 cents per hundredweight for
America's dairy farmers through this fall."
        37.         On September 13, 2004, NMPF announced a second round of herd retirement:
"Starting October IS', 2004, CWT will begin accepting bids from dairy farmers willing to sell their
entire milking herds to CWT. The bidding window will be open through October, 29th,after which
CWT staff will review the bids submitted. Producers who wish to bid must be paying the five cent

 Regions I, 11,111, IV, and V were renamed Northeast, Southeast, Midwest, Southwest, and West.
25
@e h~p://www.cwt.coop/sites/default/files/pdf/past-herd-retirements-l108
                                                                       10.pdf.
 http://www.cwt.coop/about/about~news   -releases2004.html.
                                                     -Q-
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per hundredweight CWT membership assessment, either through their cooperative, or directly.
CWT also announced today that it has received a number of additional participation commitments
recently, bringing the total percentage of milk production contributing to the program to 70.1% of
the nation's milk supply."
        38.        By November 17,2004, CWT accepted 378 bids from farmers seeking to retire their
milking herds, representing approximately 51,700 cows. "Those retirements will remove 931
million pounds of milk, or 0.55% of the nation's supply, helping to stabilize farm-level prices that
have been declining in recent months."
        39.        The across-the-country impact of this program is evidenced by the following chart:




                  Numkr       3,871     4,m        8,479       16,184   17,878   60,478
                  d Cows

                  Avrrage     $6.32     $4.78      $6.22       $6.47    $6.42    $6.24
                  Bid




         3.        The 2005 reduction in outputO2'
        40.        On March 9, 2005, Mr. Kozak stated, "With nearly two years history behind us, we
can say without equivocation that CWT is having a positive impact on the lives of all dairy farmers
in this country."



27                                             .html.
     http://www.~wt.~00p/abo~t~about~new~~releases2OO5
                                                   -       -
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        41.        By July 2005, "[nlearly three-quarters of the nation's milk supply" was contributing

to CWT. During that same time period, CWT determined that its funds would be "primarily
devoted to the retirement program," and on August 10, 2005, announced a third herd retirement
round.
        42.        CWT explained that the "first two programs reduced cow numbers by more than

83,000, representing reduced milk production equivalent to 1.6 billion pounds. Since CWT began

operations in the summer of 2003, dairy prices have been at or above historical averages,
preserving millions of dollars in income for dairy farmers." However, "[iln recent months, cow
numbers have climbed up, along with milk output per cow, and that combination doesn't bode well
for future milk prices .... The CWT management committee, in looking at all of the economic
indicators that we track, has decided that we need to proceed now to keep production from

swamping demand and bringing prices down to unacceptably low levels. CWT estimates that there
will be approximately 70,000 cows in this third retirement program to reach its goal of reducing
future milk output by 1.9 billion pounds."'
        43.        "'Based on our feedback from those whose bids we have accepted previously, we

know that most producers view the decision to sell their herds through CWT as a long-term
commitment which results in them exiting the business permanently,' said Walt Wosje, Chief

Operating Officer of CWT. 'Despite the strengthened milk prices of the past few years, there are
still many farmers who want to exit the business of dairy farming, and we know CWT offers a way
for them to do so that benefits their fellow dairy producers and contributes to the health of the

entire industry."' According to a survey conducted by CWT, only 12% of those retiring their herds
through the CWT program planned on engaging in dairy farming again.
        44.        By September 2005, membership in CWT reached 74% of the nation's milk supply,
with nearly 50 dairy cooperatives and more than 300 individual farmers. CWT reiterated that since
it "started operations in July 2003, farm-level milk prices have been consistently above historic
averages."




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          45.          On September 28, 2005, CWT announced "that it has tentatively accepted 448 bids
from farmers to retire their milking herds. There will be approximately 66,000 cows removed,
thereby eliminating 1.2 billion pounds of milk, or 0.7% of the nation's annual supply."
          46.          On December 5, 2005, Mr. Kozak explained that "[c]ow numbers and production
per cow were both on the rise. Experience tells us that can be a formula for dramatic milk price
drops. That's why we initiated this most recent herd retirement .... We are pleased with the size
program we were able to execute. This is our biggest retirement to date."
           4.        In 2006 CWT boasts of the price effects of its first three rounds of reducti0ns.2~
          47.        On September 26, 2006, CWT announced that an "independent economic analysis
of the impact of Cooperatives Working Together has found that the historic dairy self-help program
has raised farmers' prices by at least 40 cents per hundredweight since it began operations in 2003.
The analysis was performed by Dr. Scott Brown of the University of Missouri, a nationally-known
farm policy expert who is often called on by the U.S. Congress to assess agricultural economic
issues. Brown examined the impact of CWT's three herd retirements, plus its ongoing export
assistance program, while also taking into consideration other factors affecting the dairy supply in
2003-2006, such as the relative shortage of Canadian dairy replacements. His analysis showed that
CWT alone was responsible for a minimum 40 cent average increase in prices from 2004-06, apart
from the other factors affecting the market."
          48.        Dr. Brown stated, "At the start of CWT, I was skeptical about the long-term effects
that CWT would have on dairy farmers' prices, but the evidence is clear that this program has
raised the price that all farmers have received since it first began removing cows at the end of
2003."       According to his evaluation, the "cumulative impact of CWT from the start of 2004
through the first half of 2006 is $1.97 billion in additional producer revenue," as "the milk price
impact has grown with each herd retirement program" and with the "normal attrition of cows in a
herd [being] taken into consideration in determining the effect on milk production in the years
following a herd removal." Mr. Kozak concluded that even though CWT has "seen both rising and
falling prices since 2003, there is no question that prices overall are better because of CWT."

28   h t t p : l / w w w . ~ w t . ~ ~ ~ p l a b o u t / a b o-~releases2006.html.
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         5.        The 2007 reduction in output?9
        49.        On February 6, 2007, CWT announced a fourth herd retirement, because, according
to Mr. Kozak, "[all1 of the economic indicators and benchmarks that we monitor in order to guide
CWT's decisions show that now is the appropriate time for us to initiate this herd retirement
program."
        50.        On March 15, 2007, CWT announced that it was "tentatively accepting 343 bids
from 39 states, representing 54,000 cows which produced 1.03 billion pounds of milk" in the
previous year. CWT explained the logistics: "Beginning the week of March 19'~,CWT auditors
will begin visiting those farms to check their milk production records, inspect the herds, and tag
each of the cows for slaughter."
        51.        CWT further explained that this retirement "will remove more than one billion
pounds of milk, or 0.6% of the nation's dairy supply, in an effort to help strengthen and stabilize
farm-level milk prices. USDA projects a 2.3 billion pound increase in milk production for 2007
and this action by CWT effectively reduces that projection by 45 percent." By June 6, 2007, the
fourth round was complete.
        52.        In September 2007, CWT's members decided to continue their support for the
organization. "Kozak said that even with the record high farm prices of this summer, 'producers
recognize that we will need CWT in the future to help stabilize prices. The track record of the past
four years shows what we can accomplish with this unique program when our industry works
together. '"
        53.        On September 20, 2007, CWT released the results of further economic analysis by
Dr. Brown. He evaluated the impact of CWT's 2007 herd retirement, and its export assistance
program activities during the first half of 2007, in addition to reviewing the effects of CWT's past
activities. Dr. Brown's analysis showed that the combination of CWT's programs helped raise
farm-level milk prices by 75 cents per hundredweight this year, up from 67 cents in 2006, 42 cents
in 2005, 18 cents in 2004, and 5 cents in the brief time it operated in 2003.



29 http://~~~.~\nirt.~00p/abo~t/about~ne~~~re1ea~e~2007~htm1.
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        54.        Dr. Brown stated, "CWT has had a growing influence on the financial returns of
dairy farmers. My economic models account for the variety of supply and demand factors
affecting prices, including the fact that in response to CWT, some producers have added cows and
produced more milk." He continued, "[wlhen you separate out all the other factors affecting milk
production, the fact remains that CWT has boosted the milk check of each farmer by 75 cents per
hundredweight this year." According to his assessment, U.S. dairy cow numbers were a net 66,000
head fewer than they would have been without CWT's ongoing activities.
         6.        The two rounds of reductions in 2008 - time to trim output and raise prices?0
        55.        In June 2008, the CWT Committee endorsed a continuation of the program, at the
membership assessment level of 10 cents per hundredweight, through calendar year 2009.
        56.        On June 3, 2008, CWT announced its fifth herd retirement. Mr. Kozak explained,
"All of the economic indicators and benchmarks that guide CWT's decisions, including farmers'
cost of production, show that now is the appropriate time for us to initiate this herd retirement." In
a 2008 newsletter, CWT explained that "[dlairy farmers need to remember that CWT is a national
program. Therefore, the benchmarks it monitors must be national benchmarks. Some regions of
the country may be squeezed before other regions, but overall the benchmarks will tell CWT when
to execute a herd retirement so to strengthen and stabilize dairy farmer milk prices.31
        57.        By September 15, 2008, CWT completed the farm audits of its fifth herd retirement
round, resulting in the removal of 24,860 cows representing 436 million pounds of milk.
        58.        This prompted another economic analysis from Dr. Brown, who noted that his
economic models account for the variety of supply and demand factors affecting farm-level milk
prices, including the fact that in response to CWT, some producers have added cows and produced
more milk. He concluded, "When you separate out all the other factors affecting milk production,
the fact remains that CWT has boosted the milk check of each farmer by 71 cents per
hundredweight this year."




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        59.        On October 24, 2008, CWT announced its sixth herd retirement. "As farm-level
milk prices drop to their lowest level in 18 months, CWT officials said it was time the program
offered its members another opportunity to retire their herds to trim overall national milk
production, and strengthen prices going into 2009."
        60.        By December 10,2008, CWT had accepted 184 bids in its second herd retirement of
2008, representing 61,078 cows and 1.2 billion pounds of raw farm milk. Farmers in 40 states
submitted a total of 471 herd retirement bids in late November to CWT. According to the press
release, "Kozak noted that although the costs of dairy feed and diesel fuel have dropped, milk
prices have fallen faster."
        61.        As with each of CWT's herd retirements, this one impacted all regions of the U.S.:




                  Southwest       17,522       304.6         39       641       $6.36

                  West            23,773       497.9         49       459       $6.87

                  Totals         60,830        876.0        186      1,220      $6.48




        62.        The agreement among Defendants and their relationship is evidenced by the
presentation made by NMPF's COO at an October 29, 2008 "Town Hall Meeting" where he
explained the logistics and benefits of the retirement program before concluding that "continued
operation of the CWT program is essential for producers to continue to receive benefits from the
program":
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      4January 12, 2009 > All bidders receive notification




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         7.        The three rounds of herd reductions in 2009 raise
        63.        On February 11, 2009, CWT's members approved a change in program policy that
required all members whose bids were accepted in future herd retirement programs to agree to

cease dairy production for one year.
        64.        By February 17, 2009, CWT completed the farm audits of its sixth herd retirement
round, removing 50,630 cows that produced almost one billion pounds of raw farm milk.

        65.        On April 1, 2009, CWT announced its seventh herd retirement. Mr. Kozak stated,
"We all recognize that 2009 is shaping up to be among the toughest years on record for dairy
farmers, but CWT will help shorten the price plunge farmers are facing, and speed the recovery."
        66.        By May 13, 2009, CWT had accepted 388 bids representing 102,898 cows and 2
billion pounds of farm milk production capacity, representing the largest single herd retirement
carried out in the six-year history of CWT. Mr. Kozak explained, "Those that took advantage of
CWT's offer to retire their herds will aid others still wanting to farm by reducing the amount of
milk coming to market and strengthening prices going forward."
        67.        By July 2, 2009, CWT completed the farm audits of its seventh herd retirement
round, removing 367 herds in 41 states, comprised of nearly 101,000 cows that produced 1.96
billion pounds of farm milk. "The national dairy herd will be noticeably smaller this summer as a
result of CWT," said Jim Tillison, Chief Operating Officer of CWT.

        68.        On July 10, 2009, CWT announced that it would conduct its eighth herd retirement.
"Carrying out a second herd retirement right on the heels of the largest-ever herd retirement should
give us a double-barreled attack on milk production in a very short period of time, resulting in a
farm level price recovery several months sooner than would otherwise occur," Kozak said.
        69.        By September 24,2009, CWT finished the farm audits for its eighth herd retirement,
removing 74,114 cows that produced 1.5 billion pounds of farm milk.
        70.        On October 1, 2009, CWT announced its ninth herd retirement. "This third herd
retirement of 2009, along with a stabilizing global economy, should further accelerate the recovery
in dairy farmers' prices," said Mr. Kozak.



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     I   .




 1                       71.       By October 27, 2009, CWT accepted 154 bids in the fourth herd retirement it had
2                 conducted in the last 12 months, representing 26,412 cows and 5 17 million pounds of farm milk.
3                 "Coming into 2009, CWT's economists estimated that we would need to remove between five and


5
             1    six billion pounds of milk, the production of approximately 250,000 cows, through herd
                  retirements," said Mr. Kozak. "We are pleased that the participation in this third herd retirement of
6                 2009 has brought us to our goal of aligning supply with demand, and hastening the recovery of

             1    farm-level milk prices that plunged because of the global recession." Said Mr. Kozak, "We felt it
                                                                                                                          I
9
             1    was important to help milk prices continue to strengthen by conducting another herd retirement as
                  soon as we completed farms audits for the previous round."
10                       72.       In November 2009, Dr. Brown provided another economic evaluation of CWT's
11                herd retirement program. His "analysis showed that the combined effect of CWT's cow-removal
12                programs, as well as its export assistance program, helped raise farm-level milk prices by $1.54 per
13                hundredweight this year, and added $2.4 billion to farm-level milk receipts in a year when dairy

l4           11   income is expected to shrink by more than $10 billion because of the global recession." He
15                explained that his econometric model "allows for the effects of the CWT to be separated from
                                                                                                                          I
l6           1    everything else that has occurred in the industry during the operation of C W T . " ~ ~


l7           1           73.       This chart shows the impact of CWT's three 2009 herd retirements on prices:

                                                   CWTs Impact on the All Mllk Pllce




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CWT explains that these herd retirements were "made possible by the financial commitment of
tens of thousands of dairy farmers" who "have in just a matter of months moved milk prices for all
producers back to where they were a year ago."34
      74.      According to the analysis of Dr. Brown, milk prices in 2009 "would have averaged
$1.66 less had the CWT program not been in business         -   actively removing cows and, thus,
reducing milk production in a timely manner."3s
       8.      The 2010 herd reduction again boosts prices above the free market?6
      75.      On May 27,2010, CWT announced its tenth herd retirement. Said Mr. Kozak, "It is
our belief that a herd retirement at this time will add to the positive momentum already building
and should result in speeding up the milk price recovery already in progress."
      76.      By July 7, 2010, CWT accepted 194 bids on what would be its last herd retirement,
representing 34,442 cows and 653,893,409 pounds of farm milk.
      77.      In total, CWT was responsible for removing 506,921 cows from production,
resulting in the removal of 9.672 billion pounds of farm milk as summarized in the following
chart:37




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            78.        On October 26, 2010, CWT voted to focus the program exclusively on building
I
    export markets and no longer fund herd retirement. The refocused program was to be funded at
    two instead of ten cents per hundredweight. Mr. Kozak claimed that the herd retirement program
1 "has reached a point of diminishing returns, where there were a declining number of member farms

1 that were expecting to use CWT as a means to liquidate their herds."
            79.        In a June 8, 201 1, press release, NMPF noted that the CWT program no longer
    funds herd retirements or cow removals, and will focus exclusively on assisting member
    organizations with dairy exports, assuming it could obtain commitment by mid-November of a
    70% membership participation level.38
' B.         Defendants' Conspiracy Raises Milk Prices Throughout the Class Period
            80.        As a direct result of the Defendants' and co-conspirators' reduction in output of
1 farm milk, milk prices throughout the Class Period were supracompetitively higher than they
1   would have been with competition.
            8 1.       In a 2008 report, Dr. Brown illustrated the effect of herd retirement on "U.S. Dairy
    Cows" in an analysis that "allows for the effects of the CWT to be separated from everything else
    that has occurred in the industry during the operation of the CWT program":




    38   http://w~.~~t.~~~p/about/about~news~releases.html.
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            82.        Dr. Brown then summarized the effect of the program on increasing the "US All
    Milk Price":




I           83.        Dr. Brown concluded his 2008 report by describing the success of the CWT




                                                producers' milk prices by $0.71 per cwt
                                             ment program added $0.57 per cwt to milk prices
                                             assistance program added $0.14 per cwt

                                              r the 2004 to 2008 Period:
                                                producers' milk prices by $0.55 per cwt
                                               ent program added $0.47 per cwt to milk prices
                                                istance program added $0.08 per cwt

                                                as generated an additional $4.6 billion in
                                                 at a program cost of $0.3 billion
                                 i



                           a &tinued    operation of the Mprogram is essential for
                             paducers to continue receive benefits from the program

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            84.        In Dr. Brown's January 201 1 Report, entitled "The Economic Effects of the CWT
    Program," he analyzed the cumulative effect of the ten herd         retirement^.^^
            85.        Again, his analysis "allowed for the effects of the CWT to be separated from
    everything else that has occurred in the industry during the operation of the CWT program."40
            86.        First, Dr. Brown analyzed the impact CWT's herd retirements have had on farm
    milk prices each year since its inception. CWT states, "The beauty of CWT herd retirements is that
    the impact of each herd retirement lasts several years. Each herd retirement completed builds on

I   and adds to those that have been carried out before."




            87.        In the above chart, each color represents the effect of a herd retirement on farm milk
    prices. There were ten rounds of herd retirements and so ten colors in the chart. The blue
    represents the effects of the first herd retirement, which occurred in 2003 and affected prices in
    2004 through 2006. The red represents the effects of the second herd retirement, which occurred in
    2004 and affected prices in 2004 through 2007. The green represents the effects of the third herd
    retirement, which occurred in 2005 and affected prices in 2005 through 2008, and so on. Thus, the
    later herd retirements are likely still to be affecting prices through to the present.

    39 http://www.cwt.coop/sites/default/files/pdf/Economic-Effects-of-CWT-Janu-2O 11.pdf.
    40 2008 CWT Town Hall Meeting Presentation.
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        88.        The chart also shows that the total increase in farm milk price in 2004 due to herd
retirement was $0.20 per cwt. The cumulative increase was $0.50 per cwt in 2005; $0.60 per cwt
in 2006; $0.86 per cwt in 2007; $0.78 per cwt in 2008; $1.61 per cwt in 2009; and $1.75 per cwt in
2010.
        89.        Another chart from Dr. Brown's analysis shows the cumulative impact on producer
revenue that the ten herd retirements have had:




        90.        This chart shows that as of 2010, CWT's restraints on milk production in the form
of premature herd retirements had increased cumulative farm milk price revenues by over
$9 billion.
        91.        Moreover, CWT's impact on farm milk prices affects retail milk prices, as "[rletail
prices roughly track farm prices."4'          Jim Dunn, Professor of Agricultural Economics at
Pennsylvania State University, explains that "retail prices do fall with farm prices, as well as
rise."42 In his July 201 1 report entitled "Dairy Outlook," he graphs the direct relationship between
farm and retail milk prices:43




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                                       Farm and Retail Milk Price




                     0.00
                        2000    1001   1002   2003   2004   ZOOS    ZOOB     1007   2008   Zoo0   2010   2011

                               Data: USDA
                                                                   Par



       92.       From the above chart, it is plain to see that retail milk prices closely follow farm

milk prices over time. Thus, by manipulating the supply of farm milk through herd retirement,
price competition has been suppressed and, as a result, indirect purchasers of milk and fresh milk
products have paid supracompetitive prices.
       93.       Moreover, prices have been supported at artificially high levels throughout the
United States. The pricing of nearly all of the farm milk produced in the United States is regulated

by milk marketing orders. Currently ten federal marketing orders regulate the sale of 70 percent of
all milk produced in the country. California, which operates its own marketing order, regulates the
sale of another 19 percent of the country's milk. Most of the remainder is regulated by other state
marketing orders (Maine, Montana, Nevada, Virginia), and a small portion is not regulated by any
marketing order.
       94.       The federal milk marketing orders raise the average price received by producers by
setting minimum prices that processors must pay for Grade A milk according to its end-use. "Each
month, federal orders set the minimum prices for milk used in cheese, and milk used in butter and
dry milk according to formulae that take into account the wholesale prices of these products. The
minimum price for milk used in fluid products (Class I) in each order is set as a fixed differential

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over the manufacturing-use minimum prices."44 Minimum prices for soft dairy products are
similarly determined as a mark-up over the minimum prices for milk in cheese and butter.
California and the other states use similar formulae to set minimum prices.
        95.      Wholesale prices of commodity cheese, butter, and dry milk respond to market
events, including changes in the supply of milk. Because regulated farm prices throughout the
country are explicitly linked to these wholesale markets, regulated farm prices of milk in various
regions tend to move in the same direction as the wholesale dairy product prices. Defendants
sought to and successfully manipulated prices throughout the dairy marketing chain by reducing
the supply of milk across the nation-thereby     increasing wholesale prices of dairy products and,
through marketing order regulations, increasing farm prices of milk.
        96.      The CWT herd retirement program raised farm prices of milk, and thus raised the
price of the key input into a broad range of dairy products.           Higher prices of farm milk
subsequently resulted in higher retail prices of milk and other fresh milk products and harmed
consumers of those products. Consumers of milk and other fresh milk products paid higher prices
for dairy products than they would have paid had CWT not enacted its herd retirement program.
C.       Defendants Are Not Entitled to the Limited Protections of the Capper-Volstead Act
        97.      CWT blatantly restricted farm milk production to increase farm milk prices because
it purported to enjoy antitrust immunity under the Capper-Volstead Act. According to its website,
"CWT is, in effect, a federation of cooperatives and producers formed in accordance with the
Capper-Volstead Act and acting in association for the specific purpose of achieving strong and
stable milk prices."45
        98.      As NMPF, established in 1916, and CWT must be well aware, however, the
Department of Justice, Federal Trade Commission, and United States Department of Agriculture
have long interpreted Capper-Volstead not to apply to restraints on production.
        99.      Moreover, the limited protections of Capper-Volstead are not even available unless
the organization engaging in the coordinated efforts is exclusively made up of producers.


44   http:llaic.ucdavis.edu/researchl/DairyEncyclopedia~olicy.pdf.
45   http://~~~.~wt.~~~p/cwt~faqs.htrnl.
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Members of CWT, however, include non-producers, such as United Ag Services Cooperative, Inc.
and National Farmers Organization, whose membership is open to non-producers. Accordingly,
CWT does not qualify as a Capper-Volstead entity. Accordingly, CWT and its members do not
enjoy the limited immunities of Capper-Volstead and neither does NMPF for having created and
conspired with a non-exempt entity.
       100.      Further, Capper-Volstead requires that protected cooperatives be "operated for the
mutual benefit of the members thereof' but NMPF, which contains numerous cooperatives that are
not members of CWT, retains ultimate authority over CWT operations. Per its bylaws, CWT is
subject to the general supervision and direction of the NMPF, and NMPF has retained the power to
amend CWT's bylaws, which are part of NMPF's bylaws. Moreover, CWT's organizational
structure vests automatic, ex oficio representation on the CWT committee with NMPF's Board of
Directors, who are not all CWT members.46 That such non-members have influence over the
direction of CWT, without paying dues and while benefitting from the herd retirements' industry-
wide effect, violates the statutory requirement.
       101.      In particular, seven out of forty NMPF Board of Directors members and one out of
seven NMPF Officers are not affiliated with a CWT member cooperative. The seven directors
from non-CWT organizations are: (1) Steve Schlangen, Associated Milk Producers Inc.; (2) Ed
Welch, Associated Milk Producers Inc.; (3) Tim den Dulk, Continental Dairy Products, Inc.;
(4) Randy Geiger, Manitowoc Milk Producers Coop.; (5) Albert Knegendorf, Ellsworth
Cooperative Creamery; (6) Dennis Donahue, Manitowoc Milk Producers Coop.; and (7) Brad
Bourna, Select Milk Producers. The officer from a non-CWT organization is Assistant Treasurer
Mike McCloskey, Select Milk Producers, ~ n c This
                                             . ~ ~means that, per CWT bylaws, there are at
least six policy-setting CWT Committee members who represent dairy cooperatives that are not
themselves members of CWT, but still materially benefit from CWT policies despite not paying
dues. This conflict of interest makes plain that CWT is not operated for the mutual benefit of its
members but for the benefit of interested and involved non-members as well.




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                              V.        CLASS ACTION ALLEGATIONS
       102.       Plaintiffs bring this action on behalf of themselves and all persons similarly situated

pursuant to Rule 23 of the Federal Rules of Civil Procedure and/or respective state statute(s), on
behalf of all members of the following classes (collectively, the "State Classes"):

                  (a)    Arizona: All persons who purchased for their own use and not for resale
                         milk and/or fresh milk products (including cream, half & half, yogurt,
                         cottage cheese, cream cheese, and sour cream) from 2004 through to the
                         present.

                   (b)   California: All persons who purchased for their own use and not for resale
                         milk and/or fresh milk products (including cream, half & half, yogurt,
                         cottage cheese, cream cheese, and sour cream) from 2004 through to the
                         present.

                   (c)   District of Columbia: All persons who purchased for their own use and not
                         for resale milk and/or fresh milk products (including cream, half & half,

                         yogurt, cottage cheese, cream cheese, and sour cream) from 2004 through to
                         the present.

                   (d)   Florida: All persons who purchased for their own use and not for resale
                         milk and/or fresh milk products (including cream, half & half, yogurt,
                         cottage cheese, cream cheese, and sour cream) from 2004 through to the

                         present.

                   (e)   Illinois: All persons who purchased for their own use and not for resale
                         milk and/or fresh milk products (including cream, half & half, yogurt,
                         cottage cheese, cream cheese, and sour cream) from 2004 through to the
                         present.

                   (0     Iowa: All persons who purchased for their own use and not for resale milk
                         and/or fresh milk products (including cream, half & half, yogurt, cottage
                          cheese, cream cheese, and sour cream) from 2004 through to the present.

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                   (g)   Kansas: All persons who purchased for their own use and not for resale
                         milk and/or fresh milk products (including cream, half & half, yogurt,
                         cottage cheese, cream cheese, and sour cream) from 2004 through to the
                         present.

                   (h)   Maine: All persons who purchased for their own use and not for resale milk
                         and/or fresh milk products (including cream, half & half, yogurt, cottage
                         cheese, cream cheese, and sour cream) from 2004 through to the present.

                   (i)   Massachusetts: All persons who purchased for their own use and not for
                         resale milk and/or fresh milk products (including cream, half & half, yogurt,
                         cottage cheese, cream cheese, and sour cream) from 2004 through to the

                         present.

                   (j)   Michigan: All persons who purchased for their own use and not for resale
                         milk and/or fresh milk products (including cream, half & half, yogurt,
                         cottage cheese, cream cheese, and sour cream) from 2004 through to the
                         present.

                   (k)   Minnesota: All persons who purchased for their own use and not for resale
                         milk and/or fresh milk products (including cream, half & half, yogurt,
                         cottage cheese, cream cheese, and sour cream) from 2004 through to the

                         present.

                   (1)   M i s s i s s i ~ ~All
                                            i : persons who purchased for their own use and not for resale
                         milk and/or fresh milk products (including cream, half & half, yogurt,
                         cottage cheese, cream cheese, and sour cream) from 2004 through to the
                         present.

                   (m)   Nebraska: All persons who purchased for their own use and not for resale
                         milk and/or fresh milk products (including cream, half & half, yogurt,
                         cottage cheese, cream cheese, and sour cream) from 2004 through to the
                         present.

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              Nevada: All persons who purchased for their own use and not for resale
              milk and/or fresh milk products (including cream, half & half, yogurt,
              cottage cheese, cream cheese, and sour cream) from 2004 through to the
              present.
              New Hampshire: All persons who purchased for their own use and not for
              resale milk and/or fresh milk products (including cream, half & half, yogurt,
              cottage cheese, cream cheese, and sour cream) from 2004 through to the
              present.
              New Mexico: All persons who purchased for their own use and not for
              resale milk andlor fresh milk products (including cream, half & half, yogurt,
              cottage cheese, cream cheese, and sour cream) from 2004 through to the
              present.
              New York: All persons who purchased for their own use and not for resale
              milk and/or fresh milk products (including cream, half & half, yogurt,
              cottage cheese, cream cheese, and sour cream) from 2004 through to the
              present.
              North Carolina: All persons who purchased for their own use and not for
              resale milk and/or fresh milk products (including cream, half & half, yogurt,
              cottage cheese, cream cheese, and sour cream) from 2004 through to the
              present.
              North Dakota: All persons who purchased for their own use and not for
              resale milk and/or fresh milk products (including cream, half & half, yogurt,
              cottage cheese, cream cheese, and sour cream) from 2004 through to the
              present.
              Oregon: All persons who purchased for their own use and not for resale
              milk and/or fresh milk products (including cream, half & half, yogurt,
              cottage cheese, cream cheese, and sour cream) from 2004 through to the
              present.
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                   (u)    South Carolina: All persons who purchased for their own use and not for
                          resale milk and/or fresh milk products (including cream, half & half, yogurt,
                          cottage cheese, cream cheese, and sour cream) from 2004 through to the
                          present.

                   (v)    South Dakota: All persons who purchased for their own use and not for
                          resale milk and/or fresh milk products (including cream, half & half, yogurt,
                          cottage cheese, cream cheese, and sour cream) from 2004 through to the
                          present.

                   (w)    Tennessee: All persons who purchased for their own use and not for resale
                          milk and/or fresh milk products (including cream, half & half, yogurt,
                          cottage cheese, cream cheese, and sour cream) from 2004 through to the
                          present.

                   (x)    Utah: All persons who purchased for their own use and not for resale milk
                          and/or fresh milk products (including cream, half & half, yogurt, cottage
                          cheese, cream cheese, and sour cream) from 2004 through to the present.

                   (y)    Vermont: All persons who purchased for their own use and not for resale
                          milk and/or fresh milk products (including cream, half & half, yogurt,
                          cottage cheese, cream cheese, and sour cream) from 2004 through to the
                          present.

                   (z)    West Vir~inia:All persons who purchased for their own use and not for
                          resale milk and/or fresh milk products (including cream, half & half, yogurt,
                          cottage cheese, cream cheese, and sour cream) from 2004 through to the
                          present.

                   (aa)   Wisconsin: All persons who purchased for their own use and not for resale
                          milk and/or fresh milk products (including cream, half & half, yogurt,
                          cottage cheese, cream cheese, and sour cream) from 2004 through to the
                          present.



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Excluded from the State Classes are (1) Defendants and their co-conspirators; (2) any entity in
which Defendants have a controlling interest; (3) Defendants' officers, directors, and employees;
(4) Defendants' legal representatives, successors, and assigns; and (5) the Court to which this case
is assigned.         The proposed State Classes are both ascertainable and share a well-defined
community of interest in common questions of law and fact. Furthermore, this action satisfies the
numerosity, commonality, typicality, adequacy, predominance and superiority requirements.
       103.      Plaintiffs do not know the exact number of Class members at the present time.
However, due to the nature of the trade and commerce involved, there are many thousands of class
members, geographically dispersed throughout the nation such that joinder of all Class members is
impracticable. Included in each state class are consumers, school districts and any end payor who
purchased milk and who did not resell that milk.
       104.      The common legal and factual questions, which do not vary from Class member to
Class member, and which may be determined without reference to individual circumstances of any
Class member include, but are not limited to, the following:

                 (a)       Whether Defendants and their co-conspirators engaged in a contract,
                 combination or conspiracy to raise, stabilize, fix and/or maintain prices of farm milk
                 sold in the U.S. by restricting farm milk production through herd retirements;

                 (b)       The duration and extent of the alleged contract, combination or conspiracy;

                 (c)       Whether Defendants and their co-conspirators were participants in the
                 contract, combination or conspiracy alleged herein;

                 (d)       The effect of the contract, combination or conspiracy on the prices of milk
                 and fresh milk products in the United States during the Class Period;

                 (e)       Whether the conduct of Defendants and their co-conspirators caused injury
                 to Plaintiffs and other members of the State Classes;

                 (f)       Whether the alleged contract, combination or conspiracy violated state
                 antitrust statutes; and

                 (g)       Whether the alleged conduct violated the common law of unjust enrichment.

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        105.       Questions of law and fact common to members of the State Classes predominate
over any questions which may affect only individual members.
        106.       Plaintiffs' claims are typical of the claims of the Class, and Plaintiffs will fairly and
adequately protect the interests of the State Classes. Plaintiffs' interests are not antagonistic to the
claims of the other Class members, and there are no material conflicts with any other member of
the State Classes that would make class certification inappropriate.              Plaintiffs have retained
competent counsel experienced in complex antitrust and consumer protection class action litigation
and will prosecute this action vigorously.
        107.       A class action is superior to other available methods for the fair and efficient

adjudication of this controversy because individual litigation of the claims of all Class members is
impracticable. Even if every Class member could afford individual litigation, the court system
could not. It would be unduly burdensome on the courts if individual litigation of numerous cases
would proceed. By contrast, the conduct of this action as a class action, with respect to some or all
of the issues presented in this Complaint, presents fewer management difficulties, conserves the
resources of the parties and of the court system, and protects the rights of each Class member.
        108.       Prosecution of separate actions by individual Class members would create the risk
of inconsistent or varying adjudications, establishing incompatible standards of conduct for
Defendants, and would magnify the delay and expense to all parties and to the court system
resulting from multiple trials of the same complex factual issues.
        109.       Whatever difficulties may exist in the management of the class action will be
greatly outweighed by the benefits of the class action procedure, including, but not limited to,
providing Class members with a method for the redress of claims that may not otherwise warrant
individual litigation.
                                      VI.     ANTITRUST INJURY
        110.       The effect of Defendants' conduct as described herein has been to artificially inflate
the prices of milk in the United States. By manipulating the supply of farm milk through herd
retirement, price competition has been suppressed and prices have been supported at artificially


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high levels throughout the United States, and, as a result, end purchasers of milk and milk products

have paid supracompetitive prices.

                     VII.   FRAUDULENT CONCEALMENT AND TOLLING
       111.      Throughout the Class Period, Defendants and their co-conspirators engaged in a
successful, illegal price-fixing and supply control conspiracy that was self-concealing. Defendants
effectively, affirmatively, and fraudulently concealed their unlawful combination, conspiracy, and

acts in furtherance thereof from Plaintiffs and the members of the Classes. Defendants effectuated
their concealment by, among other things, falsely claiming that their activities were cloaked under
the protections of the Capper-Volstead Act. Plaintiffs did not know until recently that CWT could
not invoke Capper-Volstead's limited protections for the reasons discussed herein.
       112.      Plaintiffs did not know nor could they have known that the prices for milk and other
fresh milk products were artificially inflated and maintained by virtue of Defendants' illegal price-
fixing and supply control conspiracy, and that Plaintiffs and members of the Classes were paying
higher prices.
       113.      Plaintiffs have exercised due diligence by promptly investigating the facts giving
rise to the claims asserted herein upon having reasonable suspicion of the existence of Defendants'
conspiracy.
       114.      As a result of Defendants' fraudulent concealment of their conspiracy, the running
of any statute of limitations has been tolled with respect to any claims that Plaintiffs and the Class
members have as a result of the anticompetitive conduct alleged in this Complaint.

                                   VIII. CAUSES OF ACTION
                                    FIRST CAUSE OF ACTION
        VIOLATION OF STATE ANTITRUST AND RESTRAINT OF TRADE LAWS
       115.      Plaintiffs incorporate and reallege, as though fully set forth herein, each of the
paragraphs set forth above.
       116.      In response to market conditions, and in an effort to supracompetitively inflate the
prices of farm milk, beginning in 2003, and continuing thereafter through 2010, the Defendants and
their co-conspirators engaged in a continuing contract, combination and conspiracy in restraint of
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interstate trade and commerce, which had the purpose and effect of fixing, raising, maintaining
andlor stabilizing the prices of milk at artificially high, non-competitive levels in the United States.
       117.       The aforesaid contract, combination and conspiracy between and among the
Defendants and their co-conspirators was furthered and effectuated, among other ways, by the
following acts:

                  (a)    Prior to the Class Period, farm milk prices could not be maintained due to a
                         fluctuating imbalance of supply over demand - after spurts of high prices,
                         producers would add more production capacity and prices would fall again.

                  (b)    Against this backdrop, the Defendants acted in concert with competitors,
                         with and through CWT and other trade groups, and with non-member
                         conspirators, and contracted, conspired, and combined to effectuate a
                         substantial reduction of the production of farm milk, which allowed for a
                         series of substantial supracompetitive increases in milk prices.

                  (c)    As part of Defendants' agreement to supracompetitively inflate the price of
                         farm milk, the Defendants conspired to substantially reduce farm milk
                         production through ten phases of herd retirements, which removed over
                         500,000 cows from production and reduced the nation's farm milk supply by
                         over 9.672 billion pounds.        These actions were extraordinary, non-
                         competitive, and contrary to economic fundamentals.

                  (d)    To maintain their overarching conspiracy to supracompetitively raise the
                         price of milk, Defendants took significant steps throughout 2003 to 2010,
                         which resulted in supracompetitive prices for milk and other fresh milk
                         products throughout the Class Period.
       118.       The conspiracy had its intended effect, as Defendants benefitted fiom their
limitations on production as described herein.
       119.       For the purposes of effectuating the aforesaid contract, combination and conspiracy,
the Defendants and their co-conspirators:

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                   (a)    Agreed among themselves to fix, raise, maintain and/or stabilize the prices
                          of farm milk in the United States;
                   (b)    Agreed among themselves to restrict the supply of farm milk by
                          implementing and coordinating herd retirements; and

                   (c)    Agreed among themselves to implement supracompetitive increases in the
                          prices of farm milk in the United States.
        120.       As a result of Defendants' unlawful conduct, Plaintiffs and the other members of the
State Classes have been injured in their business and property in that they have paid more for milk
and/or other fresh milk products than they otherwise would have paid in the absence of
Defendants' unlawful conduct.
        121.       By reason of the foregoing, Defendants have violated Arizona Revised Statutes
$5 44-1401, et seq.
        122.       By reason of the foregoing, Defendants have violated California Business and
Professions Code 5 5 16720, et seq.
        123.       By reason of the foregoing, Defendants have violated District of Columbia Code
Annotated $5 28-4501, et seq.
        124.       By reason of the foregoing, Defendants have violated the Florida Deceptive and
Unfair Trade Practices Act, Fla. Stat. $5 501.201, et seq.
        125.       By reason of the foregoing, Defendants have violated the Illinois Antitrust Act,
lllinois Compiled Statutes, $5 740 111. Comp. Stat. 1011, et seq.
        126.       By reason of the foregoing, Defendants have violated Iowa Code $5 553.1, et seq.
        127.       By reason of the foregoing, Defendants have violated Kansas Statutes Annotated
$5 50-101, et seq.
        128.       By reason of the foregoing, Defendants have violated the Maine Revised Statutes 10
M.R.S. $5 1101, et seq.
        129.       By reason of the foregoing, Defendants have violated Michigan Compiled Laws
Annotated $5 445.771, et seq.

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       130.       By reason of the foregoing, Defendants have violated Minnesota Annotated Statutes
$5 325D.49, et seq.
       131.       By reason of the foregoing, Defendants have violated Mississippi Code Annotated
§§ 75-21-1, et seq.

       132.       By reason of the foregoing, Defendants have violated Nebraska Revised Statutes
§§ 59-801, et seq.

       133.       By reason of the foregoing, Defendants have violated Nevada Revised Statutes
Annotated §§ 598A.010, et seq.
       134.       By reason of the foregoing, Defendants have violated New Mexico Statutes
Annotated §§ 57-1- 1, et seq.
       135.       By reason of the foregoing, Defendants have violated New Hampshire Revised
Statutes §§ 356: 1, et seq.
       136.       By reason of the foregoing, Defendants have violated IVew York General Business
Laws $5 340, et seq.
       137.       By reason of the foregoing, Defendants have violated North Carolina General
Statutes §§ 75-1, et seq.
       138.       By reason of the foregoing, Defendants have violated North Dakota Century Code
§§ 51-08.1-01, et seq.

       139.       By reason of the foregoing, Defendants have violated Oregon Revised Statutes
§§ 646.705, et seq.

       140.       By reason of the foregoing, Defendants have violated South Carolina's Unfair Trade
Practices Act, S.C. Code Ann. §§ 39-5-10, et seq.
       141.       By reason of the foregoing, Defendants have violated South Dakota Codified Laws
§§ 37-1-3.1, et seq.

       142.       By reason of the foregoing, Defendants have violated Tennessee Code Annotated
§§ 47-25-101, et seq.

       143.       By reason of the foregoing, Defendants have violated Utah Code Annotated §§ 76-
10-911, et seq.
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        144.        By reason of the foregoing, Defendants have violated Vermont Stat. Ann. 9
$5 245 1, et seq.
        145.        By reason of the foregoing, Defendants have violated West Virginia Code $5 47-1 8-
1, et seq.
        146.        By reason of the foregoing, Defendants have violated Wisconsin Statutes $5 133.01,
et seq.48
                                      SECOND CAUSE OF ACTION
                                         UNJUST ENRICHMENT
        147.        Plaintiffs incorporate and reallege, as though fully set forth herein, each of the
paragraphs set forth above.
        148.        To the detriment of Plaintiffs and Class members, Defendants have been and
continue to be unjustly enriched as a result of the unlawful and/or wrongful conduct alleged herein.
Defendants have unjustly benefited by receiving higher prices for farm milk, which higher prices
were passed along to consumers purchasing milk and other fresh milk products, than would have
been possible absent the unlawful and/or wrongful conduct.
        149.        Between the parties, it would be unjust for Defendants to retain the benefits attained
by their actions. Accordingly, Plaintiffs and Class members seek full restitution of Defendants'
enrichment, benefits and ill-gotten gains acquired as a result of the unlawful and/or wrongful
conduct alleged herein.
                                      IX.     PRAYER FOR RELIEF
          WHEREFORE, Plaintiffs and Class members pray for relief as set forth below:
          A.        Certification of the action as a Class Action pursuant to Federal Rule of Civil
Procedure 23, and appointment of Plaintiffs as Class Representatives and their counsel of record as
Class Counsel;




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  A demand letter will be sent under Massachusetts General Law Annotated chapter 93A, et seq.,
and an amendment adding claims under that law will be made in 30 days if necessary.
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          B.       A declaration that Defendants' conduct constituted an unlawfil restraint of trade in
violation of the state statutes alleged herein and that Defendants are liable for the conduct or
damage inflicted by any other co-conspirator;
          C.       Restitution and/or damages to Class members for their purchases of milk andlor
fksh milk products at inflated prices;
          D.       Actual damages, statutory damages, punitive or treble damages, and such other
relief as provided by the statutes cited herein;
          E.       Pre-judgment and post-judgment interest on such monetary relief;
          F.       Equitable relief in the form of restitution and/or disgorgement of all unlawfhl or
illegal profits received by Defendants as a result of the anticompetitive conduct alleged in herein;
          G.       The costs of bringing this suit, including reasonable attorneys' fees; and
          H.       All other relief to which Plaintiffs and Class members may be entitled at law or in
equity.
                                 X       DEMAND FOR JURY TRIAL
          Plaintiffs on behalf of themselves and all others similarly situated hereby request a jury trial
on any and all claims so triable.
DATED: September 26,20 11
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